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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 DARREN PARKER,
                    Plaintiff,
                                              Case No.24-CV-11485-LJM-APP
 v.
                                              Hon. Laurie J. Michelson
 GENERAL MOTORS, LLC,                         Mag. Judge Anthony P. Patti

                    Defendant.


PITT MCGEHEE PALMER                          OGLETREE, DEAKINS, NASH, SMOAK
BONANNI & RIVERS                             & STEWART, PLLC
MICHAEL L. PITT (P24429)                     DANIEL G. COHEN (P41735)
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                 ANSWER AND AFFIRMATIVE DEFENSES
      Defendant, General Motors LLC (“GM”) by and through its undersigned

counsel, Ogletree, Deakins, Nash, Smoak & Stewart, PLLC, answers Plaintiff’s

Complaint and Jury Demand, as follows:

                                 INTRODUCTION
      While Defendant GM acknowledges that Plaintiff, Darren Parker (“Parker”)

brings the instant Complaint pursuant to the federal Americans with Disabilities Act

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(“ADA”) and the Michigan Persons with Disabilities Civil Rights Act (“PWDCRA”)

and alleges that GM wrongfully terminated and retaliated against him and failed to

accommodate him, GM denies that Parker is entitled to any recovery under either

law and further contends that Parker was terminated for legitimate non-

discriminatory and non-retaliatory business reasons unrelated to any disability or

protected activity under the ADA or PWDCRA.

                   JURISDICTION, VENUE, AND PARTIES

      1.     GM admits that Parker brings this action pursuant to the Americans

with Disabilities Act (“ADA”), 42 U.S.C. 12101 et seq. and the Michigan Persons

with Disabilities Civil Rights Act (“PWDCRA”), MCL 37.1201, et seq., but denies

that it failed to accommodate Parker, retaliated against him or otherwise violated

such laws for the reason it is untrue.

      2.     Admitted.

      3.     GM admits only that the Court has supplemental jurisdiction under 28

U.S.C. §1367.

      4.     Upon information and belief, GM admits the allegations contained in

Paragraph 4 of the Complaint.

      5.     Admitted.

      6.     Admitted.




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                            STATEMENT OF FACTS

      7.     GM neither admits nor denies the allegations contained in Paragraph 7

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      8.     Admitted.

      9.     Denied for the reason it is untrue in the manner and form stated.

      10.    Denied for the reason it is untrue.

      11.    Denied for the reason it is untrue.

      12.    GM admits only that some of Parker’s job duties required acting as a

liaison between purchasing, engineering, manufacturing, warehousing and logistics

to address a variety of parts supplier issues and coordinating effective and timely

solutions.

      13.    GM admits only that some of the essential functions of the TOC

position include: remotely attending “emerging issues” meetings to develop an

action plan to resolve critical supply chain issues and to generate reports

accordingly; remotely managing the movement of GM production equipment from

one warehouse location to another, and ensuring effective communication with

supplier warehouses experiencing supply chain issues.

      14.    Admitted.




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       15.       GM admits only that Parker and other TOCs reported to Tom Hoard

(“Hoard”) and that Hoard reported to Dave Morton (“Morton”).

       16.       Denied for the reason it is untrue.

        August 2022: Parker’s Medical Conditions are Aggravated by
       Driving to and from a Kentucky Warehouse Twice in Two Weeks

       17.       Denied for the reason it is untrue.

       18.       Denied for the reason it is untrue.

       19.       GM admits that all TOCs are trained to perform the duties of the

position and that any TOC may be called to cover a supplier production or warehouse

site. By way of further response, GM neither admits nor denies the remaining

allegations contained in the Paragraph 19 of the Complaint as it lacks sufficient

knowledge to form a belief as to the truth of the allegations and leaves Parker to his

strict proofs.

       20.       Denied for the reason it is untrue.

       21.       Admitted.

       22.       Upon information and belief, GM admits the allegations in Paragraph

22 of the Complaint.

       23.       GM neither admits nor denies the allegations contained in Paragraph 23

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.


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       24.       GM admits that Parker, who was 51 years old at the time, made the

400+ mile drive to Corbin Kentucky. GM neither admits not denies the remaining

allegations contained in Paragraph 24 of the Complaint as it lacks sufficient

knowledge to form a belief as to the truth of the allegations and leaves Parker to his

strict proofs.

       25.       GM neither admits nor denies the allegations contained in Paragraph 25

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

       26.       Upon information and belief, GM admits Parker was on assignment at

a supplier location in Corbin, Kentucky from August 9, 2022 to August 19, 2022.

GM neither admits nor denies the remaining allegations contained in Paragraph 26

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

       27.       GM neither admits nor denies the allegations contained in Paragraph 27

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

       28.       Upon information and belief, GM admits the allegations contained in

Paragraph 28 of the Complaint.

       29.       Denied for the reason it is untrue.




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      30.    Upon information and belief, GM admits the allegations contained in

Paragraph 30 of the Complaint.

      31.    GM neither admits nor denies the allegations contained in Paragraph 31

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

     September 9: Parker Informs GM of Necessary Medical Restrictions

      32.    GM neither admits nor denies the allegations contained in Paragraph 32

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      33.    GM neither admits nor denies the allegations contained in Paragraph 33

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      34.    Admitted.

                      September 11: GM Forces Parker to Take an
                        Unnecessary Medical Leave of Absence

      35.    Denied for the reason it is untrue.

      36.    Denied for the reason it is untrue.

      37.    Denied for the reason it is untrue.




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         September 29: Parker is Diagnosed as Having a Degenerative
                         Joint Disease of the Knees

      38.    GM neither admits nor denies the allegations contained in Paragraph 38

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      39.    GM neither admits nor denies the allegations contained in Paragraph 39

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      40.    GM neither admits nor denies the allegations contained in Paragraph 40

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      41.    GM neither admits nor denies the allegations contained in Paragraph 41

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      42.    Denied for the reason it is untrue.

      43.    Denied for the reason it is untrue.

      44.    Denied for the reason it is untrue.

               November 18: Parker’s Restrictions are Extended

      45.    GM neither admits nor denies the allegations contained in Paragraph 45

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

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      46.    GM neither admits nor denies the allegations contained in Paragraph 46

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      47.    GM neither admits nor denies the allegations contained in Paragraph 47

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      48.    Denied for the reason it is untrue.

  November 22: Hoard Places Parker on a Performance Improvement Plan

      49.    Denied for the reason it is untrue.

      50.    GM admits Parker protested the PIP, but denies the remaining

allegations contained in Paragraph 50 of the Complaint for the reason they are

untrue.

      51.    Denied for the reason it is untrue.

      December 12: Parker Seeks a Transfer and PIP Meetings Continue

      52.    GM neither admits nor denies the allegations contained in Paragraph 52

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      53.    GM neither admits nor denies the allegations contained in Paragraph 53

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.


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      54.    GM admits Plaintiff interviewed for a pre-production specification

analyst position, but denies the remaining allegations contained in Paragraph 54 of

the Complaint for the reason they are untrue.

      55.    Denied for the reason it is untrue.

      56.    GM admits that Hoard, Morton and Cardenas met with Parker on a

weekly basis pursuant to the PIP, but denies the remaining allegations contained in

Paragraph 56 of the Complaint for the reason they are untrue.

      57.    GM neither admits nor denies the allegations contained in Paragraph 57

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      58.    Denied for the reason it is untrue.

      59.    GM admits only that Cardenas concluded her investigation without

substantiating Parker’s allegations, but denies the remaining allegations contained

in Paragraph 59 of the Complaint for the reason they are untrue.

     January 17: Parker’s Medical Restrictions are Extended to March 1

      60.    GM neither admits nor denies the allegations contained in Paragraph 60

of the Complaint that Dr. Dekker issued Parker a final set of restrictions on January

17, 2023 as it lacks sufficient knowledge to form a belief as to the truth of the

allegations and leaves Parker to his strict proofs. By way of further response, GM

admits only that Parker sent Cardenas, Hoard and Morton an email on January 24,


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2023, which contained restrictions dated January 23, 2023.          GM denies the

remaining allegations for the reason they are untrue.

      61.    Denied for the reason it is untrue.

      62.    Upon information and belief, GM admits the allegations contained in

Paragraph 62 of the Complaint.

                        February 1: Parker is Terminated

      63.    GM admits only that on February 1, 2023, Parker met with Morton at

the Tech Center with Hoard and Cardenas appearing remotely and that Parker was

informed he was being terminated for continued performance deficiencies while on

a PIP. GM denies the remaining allegations contained in Paragraph 63 of the

Complaint for the reason they are untrue.

                                   COUNT I
     VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
       Disability Discrimination, Failure to Accommodate, Retaliation
                   Disability Discrimination – Termination

      64.    Paragraph 64 states a legal conclusion to which no response is required.

      65.    Paragraph 65 states a legal conclusion to which no response is required.

To the extent a response is required, GM admits the allegations in Paragraph 65.

      66.    Paragraph 66 states a legal conclusion to which no response is required.

To the extent a response is required, GM denies the allegations contained in

Paragraph 66 for the reason they are untrue.



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      67.    Paragraph 67 states a legal conclusion to which no response is required.

To the extent a response is required, GM neither admits nor denies the allegations

contained in Paragraph 67 of the Complaint as it lacks sufficient knowledge to form

a belief as to the truth of the allegations and leaves Parker to his strict proofs.

      68.    Denied for the reason it is untrue.

      69.    Denied for the reason it is untrue.

      70.    Paragraph 70 states a legal conclusion to which no response is required.

To the extent a response is required, GM denies the allegations contained in

Paragraph 70 for the reason they are untrue.

                              Failure to Accommodate

      71.    Paragraph 71 states a legal conclusion to which no response is required.

To the extent a response is required, GM admits the allegations in Paragraph 71.

      72.    Paragraph 72 states a legal conclusion to which no response is required.

To the extent a response is required, GM neither admits nor denies the allegations

contained in Paragraph 72 of the Complaint as it lacks sufficient knowledge to form

a belief as to the truth of the allegations and leaves Parker to his strict proofs.

      73.    Paragraph 73 states a legal conclusion to which no response is required.

To the extent a response is required, GM neither admits nor denies the allegations

contained in Paragraph 73 of the Complaint as it lacks sufficient knowledge to form

a belief as to the truth of the allegations and leaves Parker to his strict proofs.


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      74.     Denied for the reason it is untrue.

      75.     GM neither admits nor denies the allegations contained in Paragraph 75

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      76.     GM neither admits nor denies the allegations contained in Paragraph 76

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      77.     Denied for the reason it is untrue.

      78.     Denied for the reason it is untrue.

            Retaliation – Placing Parker on a PIP and Terminating Him

      79      Paragraph 79 states a legal conclusion to which no response is required.

To the extent a response is required, GM admits the allegations in Paragraph 79.

      80      Denied for the reason it is untrue.

      81      Denied for the reason it is untrue.

                                 COUNT II
   VIOLATIONS OF THE MICHIGAN PERSONS WITH DISABILITIES
                           CIVIL RIGHT ACT
      Disability Discrimination, Failure to Accommodate, Retaliation

      82.     GM incorporates its responses to Paragraphs 1-81 as though fully stated

herein.

      83.     Paragraph 83 states a legal conclusion to which no response is required.



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       84.    Paragraph 84 states a legal conclusion to which no response is required.

To the extent a response is required, GM admits the allegations in Paragraph 84.

       85.    Paragraph 85 states a legal conclusion to which no response is

required. To the extent a response is required, GM denies the allegations contained

in Paragraph 85 for the reason they are untrue.

       86.    Paragraph 86 states a legal conclusion to which no response is

required. To the extent a response is required, GM neither admits nor denies the

allegations contained in Paragraph 86 of the Complaint as it lacks sufficient

knowledge to form a belief as to the truth of the allegations and leaves Parker to

his strict proofs.

       87.    Denied for the reason it is untrue.

       88.    Denied for the reason it is untrue.

                              Failure to Accommodate

       89.    Paragraph 89 states a legal conclusion to which no response is required.

To the extent a response is required, GM admits the allegations in Paragraph 89.

       90.    Paragraph 90 states a legal conclusion to which no response is required.

To the extent a response is required, GM neither admits nor denies the allegations

contained in Paragraph 90 of the Complaint as it lacks sufficient knowledge to form

a belief as to the truth of the allegations and leaves Parker to his strict proofs




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      91.     Paragraph 91 states a legal conclusion to which no response is required.

To the extent a response is required, GM neither admits nor denies the allegations

contained in Paragraph 91 of the Complaint as it lacks sufficient knowledge to form

a belief as to the truth of the allegations and leaves Parker to his strict proofs.

      92.     Denied for the reason it is untrue.

      93.     GM neither admits nor denies the allegations contained in Paragraph 93

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      94.     GM neither admits nor denies the allegations contained in Paragraph 94

of the Complaint as it lacks sufficient knowledge to form a belief as to the truth of

the allegations and leaves Parker to his strict proofs.

      95.     Denied for the reason it is untrue.

      96.     Denied for the reason it is untrue.

            Retaliation – Placing Parker on a PIP and Terminating Him

      97.     Paragraph 97 states a legal conclusion to which no response is required.

To the extent a response is required, GM admits the allegations in Paragraph 97.

      98.     Denied for the reason it is untrue.

      99.     Denied for the reason it is untrue.




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                             REQUEST FOR RELIEF

      100. GM admits that Parker requests relief in the form he identifies in

Paragraph 100 of the Complaint but denies that he is entitled to any relief.

      WHEREFORE, Defendant General Motors, LLC respectfully requests that

this Honorable Court dismiss Plaintiff’s Complaint with prejudice and award

Defendant any other relief the Court believes it is entitled.

                           AFFIRMATIVE DEFENSES

      Defendant, General Motors, LLC (“GM”) by and through its undersigned

counsel, Ogletree, Deakins, Nash, Smoak & Stewart, PLLC, asserts the following

Affirmative Defenses to Plaintiff’s Complaint:

      1.      Parker’s Complaint, in whole or in part, fails to state a claim upon

which relief can be granted as a matter of fact and/or law.

      2.      Upon information and belief, Parker has failed to mitigate his damages

as alleged.

      3.      Parker’s claims are not actionable because the challenged employment

practices are justified by legitimate, non-discriminatory, non-pretextual, and non-

retaliatory business reasons unrelated to disability.

      4.      GM has provided a reasonable accommodation to Parker, but in spite

of providing a reasonable accommodation, Parker could not perform the essential

functions of the job satisfactorily. Alternatively, Parker could not be reasonably


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accommodated within the meaning of the Michigan Persons with Disabilities Civil

Rights Act.

         5.    Compensatory and punitive damages are not recoverable for ADA

retaliation claims.

         6.    There is no right to a jury on ADA retaliation claims.

         7.    Parker’s Complaint fails to state a cause of action upon which relief

may be granted in that Plaintiff failed to provide GM with timely notice of any

alleged need for accommodation within 182 days, as required by the Michigan

Person with Disabilities Civil Rights Act.

         8.    Parker is not a qualified individual with a disability or otherwise

qualified within the meaning of the Americans with Disabilities Act and Michigan

Persons with Disabilities Civil Rights Act.

         9.    The proximate cause of any injury or damages to Parker, if any such

injury or damages exist, was not the action of GM.

         10.   At all times, GM’s actions were lawful, justified, and made in good

faith.

         11.   There is no causal connection between any alleged protected activity

and any allegedly adverse employment action taken with respect to Parker.

         12.   GM reserves the right to amend these affirmative defenses or to assert

additional affirmative defenses in the course of this litigation.


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                                                  OGLETREE, DEAKINS, NASH,
                                                  SMOAK & STEWART, PLLC

                                                  s/ Daniel G. Cohen
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Dated: August 5, 2024


                          CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2024, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system, which will send notification

of such filing to all attorneys of record.

                                                  s/ Daniel G. Cohen
                                                  DANIEL G. COHEN (P41735)
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